            Case 1:22-cv-03493-RA Document 51 Filed 07/08/24 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 CONSOLIDATED BUS TRANSIT, INC. et
 al,

                             Plaintiffs,
                                                                    No. 22-cv-3493 (RA)
                        v.
                                                                          ORDER
 LOCAL 854 PENSION FUND et al,

                             Defendants.



RONNIE ABRAMS, United States District Judge:

The Court will hold a conference regarding Defendants’ motion to stay on July 18, 2024 at 11:30 a.m.
By July 12, 2024, the parties shall jointly advise the Court as to whether they wish for the conference
to be held in person or remotely.

SO ORDERED.

Dated:    July 8, 2024
          New York, New York

                                                  Hon. Ronnie Abrams
                                                  United States District Judge
